Nebraska Supreme Court Online Library
www.nebraska.gov/apps-courts-epub/
12/02/2022 01:03 AM CST




                                                        - 827 -
                               Nebraska Supreme Court Advance Sheets
                                        312 Nebraska Reports
                                          IN RE INTEREST OF JORDON B.
                                                 Cite as 312 Neb. 827



                            In re Interest of Jordon B., a child
                                   under 18 years of age.
                      State of Nebraska and Nebraska Department of
                     Health and Human Services, appellees, v. Allen B.
                        and Leah B., appellees, Christina Boydston,
                         guardian ad litem for Jordon B., appellee
                          and cross-appellant, Jason D. on behalf
                           of J.D. and L.D., intervenor-appellee,
                            and Andrew Todd and Alicia Todd,
                              appellants and cross-appellees.
                                                   ___ N.W.2d ___

                                        Filed November 4, 2022.   No. S-22-019.

                 1. Juvenile Courts: Appeal and Error. An appellate court reviews juve-
                    nile cases de novo on the record and reaches a conclusion independently
                    of the juvenile court’s findings.
                 2. Judgments: Jurisdiction. A jurisdictional question that does not involve
                    a factual dispute is a question of law.
                 3. Interventions. Whether a party has the right to intervene is a question
                    of law.
                 4. Judgments: Appeal and Error. When reviewing questions of law, an
                    appellate court resolves the questions independently of the conclusions
                    reached by the trial court.
                 5. Statutes: Appeal and Error. Statutory interpretation is a question of
                    law, which an appellate court resolves independently of the trial court.
                 6. Juvenile Courts: Jurisdiction: Appeal and Error. In a juvenile case,
                    as in any other appeal, before reaching the legal issues presented for
                    review, it is the duty of an appellate court to determine whether it has
                    jurisdiction over the matter before it.
                 7. Standing: Jurisdiction. Standing relates to a court’s power, that is,
                    jurisdiction, to address issues presented and serves to identify those
                    disputes which are appropriately resolved through the judicial process.
                                     - 828 -
            Nebraska Supreme Court Advance Sheets
                     312 Nebraska Reports
                      IN RE INTEREST OF JORDON B.
                             Cite as 312 Neb. 827
 8. Juvenile Courts: Standing: Appeal and Error. The right of appeal
    in a juvenile case in Nebraska is purely statutory, and Neb. Rev. Stat.
    § 43-2,106.01 (Reissue 2016) controls who has the right to appeal from
    a juvenile court’s placement order.
 9. Juvenile Courts: Parent and Child. Foster parents who were never
    awarded custody are not “custodians” or “guardians” for purposes of
    Neb. Rev. Stat. § 43-2,106.01(2)(c) (Reissue 2016).
10. Parent and Child: Standing: Appeal and Error. Foster parents do not
    have a legal or equitable right, title, or interest in the subject matter of
    the controversy that gives them standing to appeal from an order chang-
    ing a child’s placement.
11. Parent and Child: Statutes: Interventions. Although foster parents
    have a statutory right to participate in review hearings, their ability to
    participate is less than that of a party, and foster parents are not entitled
    to intervene as a matter of right.
12. Juvenile Courts: Jurisdiction: Statutes: Parent and Child:
    Interventions: Equity. A juvenile court, as a statutorily created court
    of limited jurisdiction, has only the authority which the statutes confer
    on it, and therefore, a juvenile court cannot allow foster parents to equi-
    tably intervene independently of the statutes.
13. Juvenile Courts: Appeal and Error. The fact that a person has two
    different relationships to a child does not confer that person with a
    right to appeal when neither is a relationship listed in Neb. Rev. Stat.
    § 43-2,106.01(2) (Reissue 2016).
14. Jurisdiction: Interventions: Standing: Final Orders: Appeal and
    Error. An appellate court exercises jurisdiction over an appeal from an
    order denying intervention even if the appellant would not have standing
    to appeal from the court’s final order or judgment on the merits.
15. Statutes: Appeal and Error. Statutory language is to be given its plain
    and ordinary meaning, and an appellate court will not resort to inter-
    pretation to ascertain the meaning of statutory words which are plain,
    direct, and unambiguous.
16. Minors: Words and Phrases. “Sibling,” under the Foster Care Review
    Act generally and under Neb. Rev. Stat. § 43-1311.02(9) (Cum. Supp.
    2020) specifically, means a person with whom one shares a common
    parent or parents.
17. Appeal and Error. An issue not presented to or decided by the trial
    court is not appropriate for consideration on appeal.

   Appeal from the County Court for Dodge County: Kenneth
J. Vampola, Judge. Affirmed.
                             - 829 -
         Nebraska Supreme Court Advance Sheets
                  312 Nebraska Reports
                  IN RE INTEREST OF JORDON B.
                         Cite as 312 Neb. 827
   Linsey A. Camplin and Sam Baue, of McHenry, Haszard,
Roth, Hupp, Burkholder, Blomenberg &amp; Camplin, P.C., L.L.O.,
for appellants.
  Leslie E. Remus and Trevor J. Rogers, Senior Certified
Law Student, for appellee Nebraska Department of Health and
Human Services.
  Brianna L. McLarty, Deputy Dodge County Attorney, for
appellee State of Nebraska.
  Timothy E. Sopinski, of Sopinski Law Office, for appellee
Allen B.
  Adam R. Tripp, of Tripp Law Office, for appellee Leah B.
  Pamela Lynn Hopkins, of Hopkins Law Office, L.L.C., for
guardian ad litem.
  Heavican, C.J., Miller-Lerman, Cassel, Stacy, Funke,
Papik, and Freudenberg, JJ.
   Miller-Lerman, J.
                      NATURE OF CASE
   Andrew Todd and Alicia Todd appeal the order of the juve-
nile court for Dodge County which granted a change of place-
ment for Jordon B. They claim that they have certain rights as
foster parents, and they claim error in, inter alia, the juvenile
court’s determination that Andrew did not have standing to
intervene as an adult sibling of Jordon. In addition, Christina
Boydston, Jordon’s guardian ad litem, cross-appeals and claims
that the juvenile court erred when it found that Andrew was a
“sibling” of Jordon and when it failed to appoint counsel to
represent her or new counsel to represent Jordon after Andrew
challenged the credibility and veracity of her guardian ad
litem report.
   We determine that as foster parents, the Todds do not have
standing to appeal the juvenile court’s placement order or the
                             - 830 -
         Nebraska Supreme Court Advance Sheets
                  312 Nebraska Reports
                  IN RE INTEREST OF JORDON B.
                         Cite as 312 Neb. 827
right to intervene as parties. We further determine that Andrew
is not a “sibling” to Jordon, and for that reason, the juvenile
court did not err when it denied Andrew’s petition to intervene.
We further determine that the record does not show the guard-
ian ad litem requested appointment of counsel for herself or
new counsel for Jordon and that therefore, the juvenile court
did not err when it failed to make such appointments. We
therefore affirm the juvenile court’s order.

                   STATEMENT OF FACTS
   Jordon was born in September 2020, and his biological
parents were Leah B. and Allen B. The Nebraska Department
of Health and Human Services (DHHS) removed Jordon from
Leah and Allen’s home on September 25. The juvenile court
for Dodge County granted temporary custody of Jordon to
DHHS based on concerns that Leah and Allen were not able to
care for him and provide an accurate feeding schedule. Such
concerns were based in part on the fact that two older sons of
Leah and Allen had been removed from their custody for simi-
lar reasons. The court appointed Boydston as Jordon’s guardian
ad litem.
   Jordon was initially placed with Jason D. and Lesley D.
Jason is Leah’s father, and Lesley is Leah’s stepmother by
virtue of her marriage to Jason. Jason and Lesley had adopted
Jordon’s two older brothers after Leah’s and Allen’s parental
rights to the two were terminated.
   After Jason and Lesley advised DHHS that they could not
provide permanency or long-term care to Jordon, DHHS placed
Jordon with the Todds. Andrew is Lesley’s adult biological
son. Andrew is not biologically related to Leah, but he is her
stepbrother by virtue of his mother Lesley’s marriage to Leah’s
father, Jason. Andrew is also a sibling to Jordon’s two older
brothers by virtue of Lesley’s adoption of the two boys.
   In an order filed December 9, 2020, the court adjudicated
Jordon to be a child within the meaning of Neb. Rev. Stat.
§ 43-247(3)(a) (Reissue 2016). The court later approved a case
                             - 831 -
         Nebraska Supreme Court Advance Sheets
                  312 Nebraska Reports
                  IN RE INTEREST OF JORDON B.
                         Cite as 312 Neb. 827
plan with a primary permanency plan of reunification, but the
court determined that custody should remain with DHHS and
that Jordon should remain in out-of-home placement.
   On July 14, 2021, Leah filed a motion for change of
placement in which she requested that Jordon’s placement
be changed to the residence of Rita Pospishil, who is Allen’s
cousin. On the same day, Jason, as biological grandfather and
adoptive father, filed a complaint on behalf of Jordon’s two
older brothers requesting that they be allowed to intervene
in this case to seek a joint-sibling placement of Jordon with
them in Jason and Lesley’s home. The court allowed Jason to
intervene on behalf of the brothers, and it set a hearing on the
request for joint-sibling placement and on Leah’s motion to
change placement to Pospishil. The court ordered submission
of reports prior to the hearing, including, inter alia, a home
study with regard to Pospishil and a guardian ad litem report.
The hearing was set for September 16.
   On September 9, 2021, the Todds filed a motion to intervene
in the case. They sought to intervene as Jordon’s foster par-
ents, and they alleged that Jordon had been placed with them
for most of his life and that it was in Jordon’s best interests
to continue placement with them. Andrew also alleged that he
was a relative of Jordon. He alleged that he was a stepuncle
to Jordon based on his stepsibling relationship with Leah and
that he was also a stepbrother to Jordon based on his mother
Lesley’s adoption of Jordon’s two older brothers. Andrew
alleged that he was a sibling of Jordon under the Foster Care
Review Act (the Act) and that as a sibling he had an interest
in the case.
   After the hearing, the juvenile court filed an order on
October 27, 2021, in which it ruled on pending motions. The
court first addressed the Todds’ motion to intervene. The
court determined that the Todds did not have standing to
intervene on the basis that they were Jordon’s foster parents.
The court cited In re Interest of Enyce J. &amp; Eternity M., 291
Neb. 965, 870 N.W.2d 413 (2015), for the proposition that
                             - 832 -
         Nebraska Supreme Court Advance Sheets
                  312 Nebraska Reports
                  IN RE INTEREST OF JORDON B.
                         Cite as 312 Neb. 827
although foster parents have a statutory right to participate
in review hearings, their ability to participate was less than
that of a party, and that foster parents do not have an interest
that entitles them to intervene in a juvenile case as a matter
of right.
   The court then turned to Andrew’s request to intervene
on the basis that he was a sibling of Jordon. The court
defined the issue as being “whether Andrew . . . has stand-
ing to intervene as an adult stepbrother to Jordon pursuant to
Neb. Rev. Stat. [§] 43-1311.02.” The court cited Neb. Rev.
Stat. § 43-1311.02(1)(a) (Cum. Supp. 2020), which provides
as follows:
      Reasonable efforts shall be made to place a child and
      the child’s siblings in the same foster care placement or
      adoptive placement, unless such placement is contrary
      to the safety or well-being of any of the siblings. This
      requirement applies even if the custody orders of the sib-
      lings are made at separate times and even if the children
      have no preexisting relationship.
   The court cited In re Interest of Nizigiyimana R., 295
Neb. 324, 889 N.W.2d 362 (2016), in which we held that the
duty to make reasonable efforts to implement a joint-sibling
placement existed even if a court had terminated a parent’s
relationship with each child and even if the siblings had not
previously lived together and that the duty extended to joint-
sibling placements with unadjudicated siblings. The court
also referenced § 43-1311.02(9), which generally provides
that a sibling of a juvenile has a right to intervene for limited
purposes. The court noted that § 43-1311.02(1)(a) referred
specifically to situations in which the “children” have no pre­
existing relationship. The court read this reference to mean
that § 43-1311.02 applied only to siblings who were children,
and it noted that the statute made no reference to adult sib-
lings. The court therefore concluded that “the limited right
to seek ‘joint-sibling placement, sibling visitation, or ongo-
ing interaction with their sibling’ in subsection (9) belongs
                             - 833 -
         Nebraska Supreme Court Advance Sheets
                  312 Nebraska Reports
                  IN RE INTEREST OF JORDON B.
                         Cite as 312 Neb. 827
to minor siblings only.” The court therefore denied Andrew’s
motion to intervene as a sibling of Jordon.
   In its October 27, 2021, order, the court next addressed
Leah’s motion to change Jordon’s placement to Pospishil and
the older brothers’ request for placement with them in Jason
and Lesley’s home. The court noted that DHHS had complied
with § 43-1311.02(1)(a) when it initially placed Jordon in
Jason and Lesley’s home. The court, however, further noted
the testimony of a DHHS caseworker that Jordon’s placement
had been changed because Jason and Lesley were “incapable
or unwilling to provide care for Jordon” and that therefore, “it
was not in Jordon’s best interest to put him in a home . . . that
was unable to provide for his basic needs due to the reported
issues of the other children in the home.” The caseworker fur-
ther testified that Jason and Lesley had not subsequently asked
that DHHS place Jordon back in their home and that the case-
worker did not become aware they were interested in taking
placement until the motion in this case was filed.
   The court found that the primary permanency plan in this
case was reunification of Jordon with Leah and Allen and that
Leah and Allen were making progress toward reunification.
The court noted that the caseworker had testified that it was
in Jordon’s best interests to be in a placement that was more
conducive to the plan of reunification and that the caseworker
opined that Pospishil’s relationship with Leah and Allen was
conducive to that goal although Jason and Lesley’s relation-
ship was less conducive and could negatively affect the goal
of reunification.
   The court stated that another witness who had supervised
Leah and Allen’s visitations with Jordon agreed that they were
making good progress and that it was in Jordon’s best interests
to be in a placement with Pospishil, who would be conducive
to the goal of reunification. The court further noted that the
home study showed that Pospishil had a good relationship
with Leah and Allen and that placement with her was recom-
mended. Based on this evidence, the court found that it was
                              - 834 -
         Nebraska Supreme Court Advance Sheets
                  312 Nebraska Reports
                  IN RE INTEREST OF JORDON B.
                         Cite as 312 Neb. 827
in Jordon’s best interests to grant Leah’s motion for change
of placement to Pospishil, and it ordered DHHS to prepare a
transition plan to effectuate the change. The court overruled
motions to reconsider that were subsequently filed by the
Todds and by Jason on behalf of Jordon’s older brothers.
   The Todds appeal the juvenile court’s order, and Boydston
cross-appeals.

                 ASSIGNMENTS OF ERROR
   The Todds claim that the juvenile court erred when it deter-
mined that they did not have the right to intervene as foster
parents and that Andrew did not have the right to intervene
because he was an adult sibling and not a child sibling. They
also claim that the court erred when it (1) granted Leah’s
motion to change placement to Pospishil, (2) denied the older
brothers’ motion for placement with them, and (3) overruled
the motions to reconsider.
   Boydston claims on cross-appeal that the juvenile court
erred when it found that Andrew was a “sibling” of Jordon
when Andrew and Jordon do not have a common parent.
Boydston also claims the court erred when it failed to appoint
counsel to represent her or to appoint new counsel to represent
Jordon after Andrew challenged the credibility and veracity of
her guardian ad litem report.

                  STANDARDS OF REVIEW
   [1] An appellate court reviews juvenile cases de novo on the
record and reaches a conclusion independently of the juvenile
court’s findings. In re Interest of Enyce J. &amp; Eternity M., 291
Neb. 965, 870 N.W.2d 413 (2015).
   [2-4] A jurisdictional question that does not involve a factual
dispute is a question of law. Id. Whether a party has the right
to intervene is a question of law. Id. When reviewing questions
of law, an appellate court resolves the questions independently
of the conclusions reached by the trial court. Id.                              - 835 -
         Nebraska Supreme Court Advance Sheets
                  312 Nebraska Reports
                  IN RE INTEREST OF JORDON B.
                         Cite as 312 Neb. 827
  [5] Statutory interpretation is a question of law, which an
appellate court resolves independently of the trial court. In re
Guardianship of Jill G., ante p. 108, 977 N.W.2d 913 (2022).
                            ANALYSIS
Standing.
   [6,7] In a juvenile case, as in any other appeal, before reach-
ing the legal issues presented for review, it is the duty of an
appellate court to determine whether it has jurisdiction over the
matter before it. In re Interest of Mekhi S. et al., 309 Neb. 529,
960 N.W.2d 732 (2021). Standing relates to a court’s power,
that is, jurisdiction, to address issues presented and serves
to identify those disputes which are appropriately resolved
through the judicial process. In re Interest of Meridian H., 281
Neb. 465, 798 N.W.2d 96 (2011).
   In its brief of appellee, the State argues, firstly, that the
Todds do not have standing to appeal the juvenile court’s
placement order as foster parents and, secondly, that even if he
is a sibling to Jordon, Andrew also would not have standing
as a sibling to appeal the juvenile court’s placement order. No
objection is made to the standing of Boydston, the guardian ad
litem. In support of its position that the Todds lack standing,
the State cites Neb. Rev. Stat. § 43-2,106.01 (Reissue 2016),
which provides as follows:
         (1) Any final order or judgment entered by a juvenile
      court may be appealed to the Court of Appeals in the
      same manner as an appeal from district court to the Court
      of Appeals. The appellate court shall conduct its review
      in an expedited manner and shall render the judgment and
      write its opinion, if any, as speedily as possible.
         (2) An appeal may be taken by:
         (a) The juvenile;
         (b) The guardian ad litem;
         (c) The juvenile’s parent, custodian, or guardian. For
      purposes of this subdivision, custodian or guardian shall
      include, but not be limited to, [DHHS], an association, or
                              - 836 -
         Nebraska Supreme Court Advance Sheets
                  312 Nebraska Reports
                  IN RE INTEREST OF JORDON B.
                         Cite as 312 Neb. 827
      an individual to whose care the juvenile has been awarded
      pursuant to the Nebraska Juvenile Code; or
         (d) The county attorney or petitioner . . . .
   Under § 43-2,106.01(2)(b), the guardian ad litem may appeal
a final order or judgment entered by a juvenile court. Therefore,
Boydston has standing to appeal the juvenile court’s order, and
we may consider the issues she raises in her cross-appeal. In
contrast, we must proceed to consider whether, and to what
extent, the Todds have standing as foster parents and then con-
sider Andrew’s standing as a purported sibling of Jordon.

Foster Parents Do Not Have Standing to
Appeal Under § 43-2,106.01 and Do
Not Have a Right to Intervene
in Juvenile Proceedings.
    [8-10] We have stated that in assessing standing, the right of
appeal in a juvenile case in Nebraska is purely statutory, and
that § 43-2,106.01 controls who has the right to appeal from
a juvenile court’s placement order. In re Interest of Joseph C.,
299 Neb. 848, 910 N.W.2d 773 (2018). As set forth above,
§ 43-2,106.01(2) does not include “foster parent” in the list
of persons who may take an appeal. We have held that foster
parents who were never awarded custody are not “custodians”
or “guardians” for purposes of § 43-2,106.01(2)(c). See In re
Interest of Jackson E., 293 Neb. 84, 875 N.W.2d 863 (2016).
Furthermore, in In re Interest of Enyce J. &amp; Eternity M., 291
Neb. 965, 974, 870 N.W.2d 413, 420 (2015), we determined
that foster parents “do not have a legal or equitable right,
title, or interest in the subject matter of the controversy that
gives them standing to appeal from the order changing [a
child’s] placement.”
    [11,12] In In re Interest of Enyce J. &amp; Eternity M., supra, we
also stated that although foster parents did not have standing
to appeal the order changing placement, we nevertheless had
jurisdiction to consider the order dismissing the foster parents’
complaint to intervene. We determined that although foster
                              - 837 -
         Nebraska Supreme Court Advance Sheets
                  312 Nebraska Reports
                  IN RE INTEREST OF JORDON B.
                         Cite as 312 Neb. 827
parents have a statutory right to participate in review hearings,
their ability to participate was less than that of a party, and we
held that foster parents are not entitled to intervene as a mat-
ter of right. Id. We further determined that a juvenile court, as
a statutorily created court of limited jurisdiction, has only the
authority which the statutes confer on it and that therefore, a
juvenile court could not allow foster parents to equitably inter-
vene independently of the statutes. Id.   We conclude that under this authority, the Todds’ status as
foster parents did not authorize them either to intervene or to
appeal the placement order. In their brief, the Todds recognize
this precedent, but they argue that the present case is different
because they assert that Andrew is both a foster parent and a
sibling. We next consider the effect of Andrew’s alleged status
as a sibling with regard to intervention and appeal.

Although Siblings Do Not Have Standing to Appeal
Under § 43-2,106.01, They Have a Limited Right
to Intervene Under § 43-1311.02(9).
   [13] As noted above, the State argues that even if Andrew
is a sibling of Jordon, a sibling does not have standing under
§ 43-2,106.01 to appeal a placement order. As set forth above,
§ 43-2,106.01(2) does not include “sibling” in the list of per-
sons who may take an appeal. We therefore agree with the State
that even if Andrew is a sibling of Jordon, Andrew qua sibling
is not among those listed in § 43-2,106.01 as persons who may
appeal a juvenile court order. We further reject the Todds’ argu-
ment that Andrew may appeal because he is both a foster par-
ent and a sibling. The fact that a person has two different rela-
tionships to a child does not confer that person with a right to
appeal when neither is a relationship listed in § 43-2,106.01(2).
We conclude that the Todds, and Andrew specifically, do not
have standing under § 43-2,106.01 to appeal the placement
order whether as foster parents, a sibling, or both.
   [14] However, as stated above, in In re Interest of Enyce J.
&amp; Eternity M., supra, we stated that although foster parents
                              - 838 -
         Nebraska Supreme Court Advance Sheets
                  312 Nebraska Reports
                  IN RE INTEREST OF JORDON B.
                         Cite as 312 Neb. 827
did not have standing to appeal the order changing placement,
we had jurisdiction to consider the order dismissing the foster
parents’ complaint to intervene. Similarly, in In re Interest of
Nizigiyimana R., 295 Neb. 324, 331, 889 N.W.2d 362, 369
(2016), in which adoptive parents of a biological sibling of
the juvenile sought to intervene, we stated that “[w]e exercise
jurisdiction over an appeal from an order denying intervention
even if the appellant would not have standing to appeal from
the court’s final order or judgment on the merits.” Under this
precedent, we understand that even though the Todds may not
appeal the portion of the juvenile court’s order changing place-
ment, Andrew may appeal the portion of the order in which the
juvenile court denied him leave to intervene as a sibling.
   In considering Andrew’s arguments regarding the denial to
intervene, we refer to In re Interest of Nizigiyimana R., supra,wherein we cited In re Interest of Enyce J. &amp; Eternity M., 291
Neb. 965, 870 N.W.2d 413 (2015), for the proposition that a
juvenile court lacks authority to permit an equitable interven-
tion. We further rejected the argument that a sibling had a
statutory right to intervene pursuant to § 43-1311.02, which
imposed a duty on DHHS to make reasonable efforts with
regard to placement with the juvenile’s siblings. We deter-
mined that the statute, as it existed at the time, specifically
limited the right to enforce such duties to parties and that a
sibling was not considered a party. We concluded that “the only
persons who can enforce [DHHS’] duties under § 43-131[1].02
are a guardian ad litem, on behalf of an adjudicated child, or an
adjudicated child’s parent, guardian, or custodian.” 295 Neb. at
342, 889 N.W.2d at 375.
   However, after our decision in In re Interest of Nizigiyimana
R., supra, the Legislature amended § 43-1311.02 to add sub-
section (9), which provides as follows: “A sibling of a child
under the jurisdiction of the court shall have the right to inter-
vene at any point in the proceedings for the limited purpose of
seeking joint-sibling placement, sibling visitation, or ongoing
interaction with their sibling.” Therefore, § 43-1311.02(9) now
                             - 839 -
         Nebraska Supreme Court Advance Sheets
                  312 Nebraska Reports
                  IN RE INTEREST OF JORDON B.
                         Cite as 312 Neb. 827
provides a sibling a limited right to intervene for the specific
listed purposes.
   The juvenile court in this case recognized the limited right
of intervention under § 43-1311.02(9), but it determined that
Andrew did not have the right to intervene. The court appeared
to accept that Andrew was a sibling of Jordon. However, the
court determined that § 43-1311.02(9) did not apply to an adult
sibling, like Andrew, and that § 43-1311.02(9) only applied
to siblings who were children. In their brief of appellants, the
Todds claim that the juvenile court erred when it determined
that the right of intervention under § 43-1311.02(9) does not
apply to an adult sibling.
   We note that in her cross-appeal, Boydston, the guardian
ad litem, does not dispute the decision to deny Andrew inter-
vention, but she claims that the juvenile court erred when it
concluded that Andrew was a “sibling” regardless of Andrew’s
age. If Boydston’s argument that Andrew is not a “sibling”
under § 43-1311.02(9) is correct, then we would not need
to consider whether the statute applies to adult siblings. We
therefore consider Boydston’s claim next, because, as will be
discussed below, our resolution of that question determines the
intervention issue.
   Before moving on, we note that when the Legislature
amended § 43-1311.02 to give siblings a limited right to inter-
vene, it did not simultaneously amend § 43-2,106.01 to include
siblings among those who may appeal a juvenile court order.
The statutes therefore appear to create a situation in which a
sibling may intervene to advocate on the specified issues but
does not have a statutory right to appeal an adverse determina-
tion on those issues.

Andrew Is Not a “Sibling” of Jordon and Therefore
Did Not Have a Right to Intervene
Pursuant to § 43-1311.02(9).
  As noted above, Boydston, as Jordon’s guardian ad litem,
may appeal the juvenile court’s order pursuant to § 43-2,106.01.
                             - 840 -
         Nebraska Supreme Court Advance Sheets
                  312 Nebraska Reports
                  IN RE INTEREST OF JORDON B.
                         Cite as 312 Neb. 827
Boydston claims on cross-appeal that the juvenile court erred
when it found that Andrew was a “sibling” of Jordon, but that
as an adult sibling, Andrew could not intervene. Boydston
argues that Andrew and Jordon are simply not siblings regard-
less of age because they do not have a common parent.
We agree.
   Neb. Rev. Stat. § 43-1301(1) (Reissue 2016) of the Act
defines “[s]iblings” as “biological siblings and legal siblings,
including, but not limited to, half-siblings and stepsiblings.”
The Act also provides in Neb. Rev. Stat. § 43-1311.01(1)
(Reissue 2016) that “sibling means an individual who is con-
sidered by Nebraska law to be a sibling or who would have
been considered a sibling under Nebraska law but for a termi-
nation of parental rights or other disruption in parental rights
such as the death of a parent.” We note that although these
definitions set forth the types of siblings that are considered
“siblings” under the Act—including half siblings, stepsiblings,
and those who would be considered siblings but for a termina-
tion or disruption of parental rights—the definitions are circu-
lar in that they use the word “sibling” to define “sibling.” We
therefore resort to rules of construction to determine the mean-
ing of “sibling” under the Act.
   [15,16] Statutory language is to be given its plain and ordi-
nary meaning, and an appellate court will not resort to inter-
pretation to ascertain the meaning of statutory words which
are plain, direct, and unambiguous. In re Guardianship of
Jill G., ante p. 108, 977 N.W.2d 913 (2022). Black’s Law
Dictionary defines “sibling” as a “brother or sister,” Black’s
Law Dictionary 1660 (11th ed. 2019), and it defines “brother”
as a “male who has one parent or both parents in common with
another person,” id. at 241, and “sister” as a “female who has
one parent or both parents in common with another person,” id.
at 1667. The plain and ordinary meaning of “sibling” requires
a common parent or parents. Therefore, we conclude that
“sibling,” under the Act generally and under § 43-1311.02(9)
                             - 841 -
         Nebraska Supreme Court Advance Sheets
                  312 Nebraska Reports
                  IN RE INTEREST OF JORDON B.
                         Cite as 312 Neb. 827
specifically, means a person with whom one shares a common
parent or parents.
   Andrew argues that he is a “stepbrother” to Jordon because
he and Jordon have siblings in common. Jordon is a sibling to
his two older brothers because they share common biological
parents, and although the biological parents’ rights to the older
brothers have been terminated, pursuant to § 43-1311.01(1),
they are still considered Jordon’s siblings under the Act.
Andrew’s mother Lesley adopted Jordon’s older brothers, and
therefore, Andrew shares a common parent with, and is a sib-
ling to, Jordon’s older brothers under § 43-1301(1) as a legal
sibling and a half sibling. But although Andrew and Jordon
share two brothers as common siblings, Andrew and Jordon
are not siblings. Having a common sibling does not in itself
make two people siblings to one another. Instead, the two must
have a common parent or parents, and Andrew and Jordon
have no common parent. Andrew is a stepbrother to Jordon’s
mother Leah, which makes him a stepuncle rather than a step-
brother to Jordon, and sharing two brothers in common does
not make Andrew and Jordon siblings in the absence of a com-
mon parent.
   Because Andrew is not a “sibling” to Jordon under the
Act, we need not consider the juvenile court’s reasoning that
§ 43-1311.02(9) does not apply to Andrew because he is an
adult sibling rather than a child sibling, and we make no
comment on that reasoning. The limited right to intervene
under § 43-1311.02(9) does not apply to Andrew because he
is not a “sibling” to Jordon. Therefore, based on different
reasoning, we determine that the juvenile court did not err
when it denied Andrew leave to intervene as a sibling under
§ 43-1311.02(9).

Boydston Did Not Request Appointment of Counsel.
   Boydston also claims on cross-appeal that the juvenile court
erred when it failed to appoint counsel to represent her after
Andrew challenged the credibility and veracity of her guardian
                             - 842 -
         Nebraska Supreme Court Advance Sheets
                  312 Nebraska Reports
                  IN RE INTEREST OF JORDON B.
                         Cite as 312 Neb. 827
ad litem report. We determine that because Boydston did not
request appointment of counsel, the juvenile court did not err
when it failed to do so.
   Boydston’s argument that the juvenile court erred when it
did not appoint counsel to represent her or different counsel
to represent Jordon appears to focus on testimony by Andrew
at the hearing wherein he disagreed with certain aspects of
her guardian ad litem report. Boydston also notes a portion of
the Todds’ brief on appeal in which they assert that her guard-
ian ad litem report raises “misleading and baseless concerns”
regarding their care of Jordon and that such concerns were
“disproven by the evidence.” See brief for appellants at 16.
   [17] However, it does not appear that Boydston asked the
juvenile court to appoint counsel. Boydston does not assert in
her brief that she made such request, and the record does not
appear to include such a request. An issue not presented to or
decided by the trial court is not appropriate for consideration
on appeal. In re Trust of Shire, 299 Neb. 25, 907 N.W.2d 263(2018). Because the juvenile court was neither presented with
nor ruled upon a request for appointment of counsel, whether
such appointment was warranted is not appropriate for consid-
eration on appeal. Therefore, we do not consider this assign-
ment of error raised on cross-appeal.
                        CONCLUSION
   We conclude that as foster parents, the Todds did not have
the right to intervene as parties and did not have the right
to appeal the juvenile court’s placement order. As urged by
Boydston in her cross-appeal, we also conclude that Andrew is
not a “sibling” to Jordon under the Act and that therefore, he
did not have a right to intervene pursuant to § 43-1311.02(9).
We therefore affirm the juvenile court’s order in which it denied
intervention by the Todds as foster parents or by Andrew as a
sibling. No party with a right to appeal has challenged the
juvenile court’s change of placement, and we therefore also
affirm the juvenile court’s placement order.
                                                    Affirmed.
